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            IN THE UNITED STATES DISTRICT COURT FOR THE
                   EASTERN DISTRICT OF OKLAHOMA


 UNITED STATES OF AMERICA,

                Plaintiff,

 v.                                                Case No. CR-10-084-RAW


 MARVIN LORNELL VEALY, a/k/a
   “Dubee,” and

 GERALD WAYNE GREEN, a/k/a
    “Duck,”

                Defendants.




                                             ORDER

       This matter came before the court today on Gerald Wayne Green’s motion for continuance

[Docket No. 134]. Marvin Lornell Vealy joins in the motion [Docket No. 135]. The Government

does not object to a continuance as to Defendant Green, but does object as to Defendant Vealy.

       In support of his motion, Defendant Green states that he has been re-hospitalized at the

McAlester Regional Hospital and soon will be transferred to the Solara Hospital in Shawnee,

Oklahoma. As a result of his hospitalization and medicated state, Defendant Green’s counsel asks

that the jury trial be continued. Defendant Green’s counsel states that Defendant Green is physically

unable to stand trial. The court has reviewed Defendant Green’s medical records in camera and

acknowledges that Defendant Green is, in fact, physically unable to stand trial at this time.

       For these reasons, the court finds that the ends of justice served by granting a continuance

outweigh the best interests of the public and the defendant in a speedy trial. See 18 U.S.C. §
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3161(h)(7)(A). The court, therefore, overrules the Government’s objection, and GRANTS the

motions to continue [Docket Nos. 134 and 135]. The period of delay resulting from this continuance

is excludable time as provided in 18 U.S.C.§ 3161(h)(7)(A).

       The court hereby strikes the May 11, 2011 trial date. This case will now be included on the

court’s June 6, 2011 trial docket, with jury selection to be held on that date, and the evidence to

begin on June 20, 2011. The pretrial conference will be set at a later date.

       Both Defendants Vealy and Green shall execute and file a Speedy Trial Waiver no later

than May 13, 2011.

       It is so ORDERED this 5th day of May, 2011.




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